                                                                                           DISTRICT OF OREGON
                                                                                                 FILED
                                                                                                 June 21, 2019
                                                                                        Clerk, U.S. Bankruptcy Court



               Below is an order of the court.




                                                                        _______________________________________
                                                                                  PETER C. McKITTRICK
                                                                                  U.S. Bankruptcy Judge




                                     UNITED STATES BANKRUPTCY COURT

                                                 DISTRICT OF OREGON


         In re:                                              Case No. 19-60230-pcm11

           WILLIAM JOHN BERMAN,                              STIPULATED ORDER GRANTING
                                                             LIMITED RELIEF FROM STAY
                                 Debtor.


                   This matter having come before the Court on the Motion for Relief from Automatic Stay

         filed by the Ad Hoc Group of Class Action Plaintiffs (the “Plaintiffs”) [ECF No. 47], the parties

         having stipulated as follows:

                   1.     As part of a negotiated settlement, the parties shall promptly submit for entry a

         stipulated order avoiding the judgment lien that arose by operation of law upon entry of the

         judgment that was entered against the Debtor on October 31, 2018 (the “Judgment”) in the case

         of Hathaway, et al. v. B. & J. Property Investments, Inc. et al., Marion County Circuit Court

         Case No. 13C14321 (the “Lawsuit”).

Page 1 of 3        STIPULATED ORDER GRANTING LIMITED RELIEF FROM                              Motschenbacher & Blattner LLP
                                                                                               117 SW Taylor Street, Suite 300
                   STAY                                                                            Portland, Oregon 97204
{00278725:7}                                                                                        Phone: 503-417-0500
                                                                                                     Fax: 503-417-0501
                                Case 19-60230-pcm11          Doc 71     Filed 06/21/19               www.portlaw.com
                 2.      Plaintiffs’ agreement to avoid the judgment lien applies to the lien only, and shall

         not affect entry of the Judgment itself.

                 3.      Furthermore, the Plaintiffs’ agreement to allow the avoidance of the judgment lien

         against Debtor’s personal residence shall not have any preclusive effect on the Plaintiffs’ claims

         against the Debtor or the Debtor’s affiliate, B. & J. Property Investments, Inc.

                 The Court having reviewed the matter and finding good cause:

                 IT IS HEREBY ORDERED that the automatic stay is hereby modified to allow the

         Oregon Circuit Court to continue proceedings related to the determination of attorney’s fees and

         costs and entry of a supplemental judgment, if appropriate, in the case Hathaway, et al. v. B. & J.

         Property Investments, Inc. et al., Marion County Circuit Court Case No. 13C14321.

                 IT IS FURTHER ORDERED that any amounts that may be awarded in any supplemental

         judgement shall not become a lien on any real property or other assets of Debtor and any

         purported lien, statutory or otherwise, with respect to a supplemental judgment, is hereby

         deemed invalid and of no force or effect. Any supplemental judgment shall state on its face that

         it shall not constitute a lien on the real property or other assets.

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                IT IS FURTHER ORDERED that Plaintiffs may proceed with the ongoing appeal filed

         by Debtor including, but not limited to, making settlement offers, filing briefs, and any other

         action required.

                                                         ###

         I certify that I have complied with the requirements of LBR 9021-1(a).

         Presented by:
         MOTSCHENBACHER AND BLATTNER LLP
         Nicholas J. Henderson, OSB #074027
         Telephone: (503) 417-0508
         Email: nhenderson@portlaw.com
           Of Attorneys for William John Berman


         Parties to Serve:
         Electronically:
              All CM/ECF participants.
         Via First-Class Mail:
              Hunter Emerick
              Saalfeld Griggs PC
              Susan Stoehr
              Stephen Joye
              Nancy Wolf


         IT IS SO STIPULATED:

         MOTSCHENBACHER AND BLATTNER LLP                       KARNES LAW OFFICE, PC

         By: /s/ Nicholas J. Henderson                         By: /s/ Keith D. Karnes
         Nicholas J. Henderson, OSB #074027                    Keith D. Karnes, OSB # 033521
           Of Attorneys for Debtor-in-Possession
           William John Berman




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